Case 1:19-cv-04087-MKB-RLM Document 18 Filed 08/08/19 Page 1 of 1 PageID #: 197


 UNITED STATES DISTRICT COURT
 EASTERN DISTRICT OF NEW YORK


 COMMUNITY HOUSING IMPROVEMENT
 PROGRAM, et al.,

                      Plaintiffs,                NOTICE OF APPEARANCE
               v.                                Case No.: 19-cv-4087 (MKB-RLM)
 CITY OF NEW YORK, et al.,

                      Defendants.




        PLEASE TAKE NOTICE that Andrew J. Pincus of Mayer Brown LLP hereby appears as

 counsel for Community Housing Improvement Program, Rent Stabilization Association of

 N.Y.C., Inc., Constance Nugent-Miller, Mycak Associates LLC, Vermyck LLC, M&G Mycak

 LLC, Cindy Realty LLC, Danielle Realty LLC, Forest Realty, LLC, plaintiffs in the above-

 captioned action, and requests that all notices given or service made in connection with this

 action be given or made upon Andrew J. Pincus as set forth below.


 Dated: August 8, 2019

                                                    /s/ Andrew J. Pincus
                                                    Andrew J. Pincus
                                                    MAYER BROWN LLP
                                                    1999 K Street N.W.
                                                    Washington, D.C. 20006
                                                    Tel.: (202) 263-3206
                                                    Fax: (202) 263-5206
                                                    apincus@mayerbrown.com

                                                    Counsel for Plaintiffs
